    Case 4:82-cv-00866-DPM Document 5844 Filed 04/18/24 Page 1 of 3



           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                        CENTRAL DIVISION


LITTLE ROCK SCHOOL DISTRICT, et a!.                       PLAINTIFFS

                         No. 4:82-cv-866 -DPM

PULASKI COUNTY SPECIAL SCHOOL
DISTRICT, JACKSONVILLE/NORTH
PULASKI SCHOOL DISTRICT, et a!.                          DEFENDANTS

EMILY McCLENDON, TAMARA EACKLES,
VALERIE STALLINGS, TIFFANY ELLIS,
and LINDA MORGAN                                        INTERVENORS

                                ORDER
     The University of Arkansas at Little Rock has decided to
discontinue its administration of the Dr. Charles W. Donaldson
Scholars Academy. The last cohort of students supported by the
program entered in the fall of 2020. The Donaldson Academy did not
survive COVID and personnel attrition.            At the end of the
2023-2024 school year, when the program will close, an estimated
$1.45 million will remain of the $10 million contributed by the Pulaski
County Special School District and the Jacksonville North Pulaski
County School District. UALR seeks guidance on how to handle the
leftover money. The Districts move the Court to approve a refund of
the remainder to them (80% PCSSD and 20% JNPSD), with the refund
dedicated to helping pay for the Court-ordered facilities projects.
    Case 4:82-cv-00866-DPM Document 5844 Filed 04/18/24 Page 2 of 3



The McClendon Intervenors oppose this step. They suggest using the
money for another college -preparatory program and for scholarships
for former Donaldson Academy participants who dropped out of
college but have committed to re -enrolling.
     No perfect solution exists for this unanticipated development. A
decade ago, the Districts committed $10 million for the Donaldson
Academy as part of their many efforts at achieving unitary status in
student achievement. They are now unitary in that area of Plan 2000.
So the Court must hesitate at imposing any new obligation.
But, because the matter involves an obligation already undertaken,
which cannot now be honored 100%, the Court must address the
unforeseen     circumstances.      Both     PCSSD   and JNPSD         have
comprehensive       college   preparatory     programs.      These     are
ACT-focused.        These programs track the original goals of the
Donaldson Academy.            The duplicative program proposed by
Intervenors    is    unlikely to   add      much.     This   leaves    the
college -scholarship and programs slice. The Court appreciates the
Intervenors' willingness to be involved in that recruiting folks to
return to    college.   But the obligations attendant on managing,
disbursing, and monitoring more than a million dollars for
scholarships would be many. Plus the scholars would not have the
supportive group activities provided through UALR and the
Donaldson Academy. Last, the Districts' proposal is sound. They're
                                   -2-
    Case 4:82-cv-00866-DPM Document 5844 Filed 04/18/24 Page 3 of 3



in the short rows but remain under Court supervision on facilities.
Both districts have undertaken substantial projects:             PCSSD is
improving Mills University High School in many commendable ways;
while JNPSD is almost done with a complete rebuild of all its facilities
except its kindergarten/pre -k center. As the Court has said, this has
been an extraordinary effort.      Construction costs have increased
during the work on all these PCSSD/JNPSD projects. Channeling the
Donaldson Academy refund in support of those efforts, which benefit
minority students and all students, makes good sense.
     The Districts' motion, Doc. 5834, is granted. UALR must refund
all remaining Dr. Charles W. Donaldson Scholars Academy funds to
the Pulaski County Special School District (80%) and the Jacksonville
North Pulaski County School District (20%) within a reasonable time
after 30 June 2024. The Court also requests UALR to account to the
Districts, in due course, for how the rest of the Donaldson Academy
money was spent. As the Intervenors suggest, this report will provide
useful information.
     So Ordered.
                                                         1 F.
                                  D.P. Marshall Jr.
                                  United States District Judge
                                             /1
                                     5   C        /\2.    tc7




                                  -3-
